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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


     UNITED STATES OF AMERICA

               v.                                        Case No. 25-mj-___ ( )

 ISAIAH HALL,
                      Defendant.                         UNDER SEAL



                            AFFIDAVIT IN SUPPORT OF A
                     CRIMINAL COMPLAINT AND ARREST WARRANT

I,                  , being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AFFIANT BACKGROUND

        1.     Your Affiant,                    , is a Special Agent with the FBI, assigned to the

Washington Field Office. I have been an FBI Special Agent since December 2020 and work as

part of the Washington, D.C., Joint Terrorism Task Force (JTTF). In my duties as a Special Agent,

I investigate violations of federal law and domestic terrorism related investigations, to include

Nihilistic Violent Extremists (NVEs). As a Special Agent, I am authorized by law to investigate

violations of Federal criminal laws. I have personally participated in obtaining and executing

search warrants involving the search and seizure of multiple types of evidence, including electronic

communications, digital devices, social media accounts, cell site data, geolocation data, premises,

and vehicles. As such, I am an “investigative or law enforcement officer” of the United States

within the meaning of Title 18, United States Code, Section 2510(7), that is, an officer of the

United States who is empowered by law to conduct investigations of, and to make arrests for,

offenses enumerated in Section 2516 of Title 18, United States Code.
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       2.      I have gained experience through training with the FBI and in everyday work

related to conducting these types of investigations. During my career as an SA, I have (a)

conducted physical and wire surveillance; (b) participated in the execution of search warrants and

arrest warrants for various crimes; (c) reviewed and analyzed numerous recorded conversations

and other documentation of criminal activity; (d) interviewed confidential human sources, subjects

and victims; and (e) monitored wiretapped conversations of individuals engaged in various crimes.

       3.      I have participated in investigations involving computer-related offenses and have

executed numerous search warrants, including those involving searches and seizures of computers,

digital media, software, and electronically stored information. As part of my duties as an SA, I

have assisted in investigating federal crimes involving the sexual exploitation of children,

including the illegal production, distribution, receipt, and possession of child pornography, in

violation of 18 U.S.C. §§ 2251, 2252, and 2252A.

       4.      I respectfully submit that there is probable cause to believe that the information

described in Attachment A contains evidence, fruits and/or instrumentalities of violations of Title

18, United States Code, specifically violations of 18 U.S.C. §§ 2252(a)(2) (Receipt of Child

Pornography (hereafter “SUBJECT OFFENSE”).

       5.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, witnesses, and agencies. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant. It does

not set forth all my knowledge, or the knowledge of others, about this matter.

                                         PROBABLE CAUSE

       6.      On March 18, 2025, a search warrant was authorized by Magistrate Judge G.

Michael Harvey of this Court to search and seize information and devices from the Isaiah Hall’s


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(hereinafter the “SUBJECT”) person and residence in Washington, D.C. (25-sw-68). On March

19, 2025, law enforcement agents intercepted Hall in Washington D.C. and recovered a cellular

telephone from his person.

           7.       An on-scene preview of the SUBJECT’s cellular phone revealed sexually explicit

images and videos of age-indeterminant females. The SUBJECT’s phone contained a video of a

fully nude female masturbating. The female’s face was visible in the video. Investigators were not

able to access the sound to the video, however it appeared the female was talking during the video.

The video appeared to be a recording of a Google Meet video call based on the icons depicted on

the screen recording. The name “LXXX”1 appears below the frame of the video. Based on a review

of the SUBJECT’s phone, the Google Meet video call that included the above-referenced video

was “created on” the SUBJECT’s phone on February 27, 2025 at 12:12:23 UTC. Following the

search warrant execution, the SUBJECT agreed to a voluntary interview. In the interview, the

SUBJECT indicated that this video depicted a 17-year-old girl that he knew as “LXXX.”

           8.       In the SUBJECT’s phone, law enforcement found the Gmail address

stXXXX@gmail.com. Additionally, in the SUBJECT’s phone, law enforcement identified Gmail

address iloveXXXX@gmail.com communicated with Gmail address stXXXX@gmail.com via G-

chats, e-mail and Google Meet. On January 21, 2025, stXXXX@gmail.com sent an email to the

SUBJECT with the subject line “ill stay in call waiting for u.” A review of SUBJECT’s phone

showed multiple Google Meet calls occurred between the SUBJECT’s email address

iloveXXXX@gmail.com and stXXXX@gmail.com.

           9.       An administrative subpoena was sent to Google for subscriber information related

to iloveXXXX@gmail.com. Google subscriber information revealed the name “Zay” was



1
    This name has been anonymized to protect the victim’s identity.
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associated with the account. Furthermore, a review of the Google subscriber IP addresses revealed

the IP addresses returned to the Washington D.C and Maryland region from December of 2024 to

March of 2025. It is reasonable to conclude that the name “Zay” is a nickname for “ISAIAH.”

Moreover, the SUBJECT’s phone indicates that the Gmail iloveXXXX@gmail.com was operated

by the SUBJECT’s phone. Following the March 19, 2025, search warrant execution, law

enforcement agents interviewed the SUBJECT’s parents, who indicated that the SUBJECT resided

with them in Washington, D.C on the Washington Navy Yard Base. Records show that the subject

was regularly accessing the base since November of 2024.

       10.     An administrative subpoena was sent to Google for subscriber information related

to stXXXX@gmail.com. Information provided by Google in response to the subpoena indicated

that a phone number ending in 9843 was associated with this account as well as several IP

addresses, which resolved to Boca Raton, Florida. A law enforcement database found a name for

an individual (hereinafter W-1) associated with the phone number ending in 9843.

       11.     FBI and local law enforcement in the Boca Raton area located W-1. W-1 confirmed

that his 14-year-old daughter’s name is L.S. W-1 confirmed that his daughter goes by the nickname

“LXXX” (the same nickname the SUBJECT provided during his interview). W-1 also confirmed

that L.S. was the user of the Gmail account stXXXX@gmail.com and the phone number ending

in 9843. Based on a review of the above-referenced video and known images depicting L.S., it

appears that L.S. is the individual depicted in the above-referenced video. L.S. is currently a 14-

year-old minor child.

       12.     Law enforcement also made contact with W-2 who is the mother of L.S. W-1 and

W-2 gave consent for FBI to seize and examine L.S.’s phone and computer. W-1 and W-2 gave

passwords to the phone and computer to the FBI.


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           13.      Based on my training and experience, it is reasonable to conclude that L.S. is the

same person identified by the SUBJECT as “LXXX” who was the fully nude minor female who

was masturbating her naked vagina. L.S. is associated with phone number ending in 9843 and

stXXXX@gmail.com. Additionally, “LXXX” is a nickname for L.S and is also encapsulated in

L.S.’ email address, stXXXX@gmail.com.2 Furthermore, according to the SUBJECT’s phone,

L.S. and the SUBJECT communicated frequently via call logs, social media platforms and via G-

chats, e-mail, and Google Meet through their Gmail accounts iloveXXXX@gmail.com and

stXXXX@gmail.com. Moreover, the video of “LXXX” masturbating her naked vagina appears to

be a recording from a Google Meet video call. A review of the SUBJECT’s phone showed multiple

Google Meet calls occurred between the SUBJECT’s email address iloveXXXX@gmail.com and

stXXXX@gmail.com.

                                                  CONCLUSION

           14.      Based on the aforementioned facts, your affiant respectfully submits that there is

probable cause to believe that ISAIAH HALL committed the offense of Receipt of Child

Pornography in violation of Title 18, United States Code, 2252(a)(2).




                                                                 Special Agent
                                                                 Federal Bureau of Investigation


Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on April 9, 2025



                                                        _____________________________________
                                                        HONORABLE ZIA M. FARUQUI
                                                        UNITED STATES MAGISTRATE JUDGE

2
    The full email address contains the victim’s nickname but has been anonymized to protect the victim’s identity.
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